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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION

                                CIVIL MINUTES--GENERAL

  Case No. CV 16-1378 CAS (AJWx)                            Date: February 3, 2017

  Title: Gordon Feller, et al. v. Transamerica Life Insurance Company
  =====================================================================
  PRESENT:     HON.   ANDREW J. WISTRICH, MAGISTRATE JUDGE

                  Kerri Hays                          n/a
                Deputy Clerk                     Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFFS:          ATTORNEYS PRESENT FOR DEFENDANTS:
            None Present                              None Present

  ORDER REGARDING PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS
  WITHOUT REDACTION [Dkt. No. 166]

  Defendant apparently has produced some documents containing relevant
  information from which material that defendant contends is irrelevant
  and confidential has been unilaterally redacted. [JS at 5-6, 29-30].
  Defendant does not contend that any of the redactions are based on
  privilege; it merely argues that the redacted material is
  confidential and irrelevant.

  Although narrow redactions occasionally may be a practical solution
  when privileged or highly sensitive irrelevant information is
  contained in a document also containing unprivileged relevant
  information, the practice is usually discouraged for good reason. It
  may   conceal   potentially    relevant  information,    hinder   the
  understanding of the unredacted portions of documents, engender
  suspicion, necessitate an in camera review (which burdens the court
  and interferes with the proper functioning of the adversary process),
  and increase litigation expense and delay by prompting the filing of
  motions like this one.

  The relevance of the redacted information is disputed. At least some
  of it seems relevant, and defendant’s redactions appear to have
  interfered with plaintiffs’ ability to use information to which they
  are entitled. [Stern Decl., paras. 7-12] The redacted information
  also may shed light on defendant’s motivation for the actions it
  took. Defendant’s arguments concerning relevance are not themselves
  a convincing reason for allowing defendant’s redactions. Nor is
  defendant’s claim that the information is confidential, in view of
  the protective order already entered in this case. Although such
  orders may not always absolutely guarantee that confidentiality will
  be maintained, they are sufficient in nearly every case. Nothing
  suggests that plaintiffs’ counsel cannot be trusted. Therefore, the
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  motion is granted. Defendant must produce the responsive documents
  without redaction within 7 days. Defendant also must refrain from
  unilateral redaction based on relevance in the future. Plaintiffs’
  counsel are reminded of their obligation to comply with the
  protective order. Any failure to do so will not be tolerated and may
  be punished harshly.

  IT IS SO ORDERED.

  cc:   Parties




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